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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
vs.                                               )
                                                  )              No. 04-CR-40021-MJR
DEMETRIUS D. JOHNSON,                             )
                                                  )
                       Defendant.                 )
                                                  )

                                             ORDER

       Before the Court is defense counsel’s Motion to Withdraw (Doc. 335), in which counsel

states that Defendant’s sentence as a career offender precludes any non-frivolous argument for a

sentence reduction under 18 U.S.C. § 3582(c) and the retroactive amendments to the crack cocaine

Sentencing Guidelines.

       The Court being duly advised in the premises grants the Motion to Withdraw filed by the

Federal Public Defender’s Office. So that the Defendant may respond within 14 days of the date of

this Order, the Court further directs that a copy be mailed to at his last known address:

                                       Demetrius D. Johnson
                                        Reg. No. 06298-025
                                           USP Marion
                                         U.S. Penitentiary
                                          P.O. Box 1000
                                         Marion, IL 62959

       IT IS SO ORDERED.

       DATED: January 26, 2012
                                                      s/ Michael J. Reagan
                                                      MICHAEL J. REAGAN
                                                      UNITED STATES DISTRICT JUDGE
